Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 1 of 35 PageID #: 485




           Case l-3-04033       Doc20      Filed 0713L/13 Entered 07l3LlL31-6:49:13 Desc Main
                                            Document Page 1- of 35


                              IN THE UNITED STATES BANKRUPTCY COURT
                                 F'OR THE EASTERN DISTRICT OF'TEXAS
                                          SHERMAN DTVISION

      IN RE:                                                    s
                                                                s
      DALLAS ROADSTER, LIMITED                                  $       BANKRUPTCY NO. II-43725
      and                                                       s
      IEDA ENTERPRISE,INC.                                      s       BANKRUPTCY NO. II-43726
                                                                s
      DEBTORS                                                   $       Chapter 1l

      TEXAS CAPITAL BANK, N.A.                                  $
                                                                $
      V.                                                        $      Adversary No. 13-4033
                                                                $
      DALLAS ROADSTER, LTD., IEDA                               $
      ENTERPRISE, INC., BAHMAN KHOBAHY,                         s
      and BAHMAN HAFEZAMIM

             DEF'ENDANT BEN AMINI'S ORIGINAL ANSWER AND COUNTERCLAIM


                 COMES NOW Defendant BEN AMINI and files his Original Answer and Counterclaim

      and shows the Court as follows:

                                               ORIGINAL ANSWER

            1.   Defendant/Counter-Plaintiff admits the allegations in Paragraph number     1.


           2.    Defendant/Counter-Plaintiff admits the allegation in Paragraph number 2.

           3.    Defendant/Counter-Plaintiff admits the allegations in Paragraph number 3.

           4.    Defendant/Counter-Plaintiff admits the allegation in Paragraph number 4.

           5.    Defendant/Counter-Plaintiff admits the allegation in Paragraph number     5.


           6.    Defendant/Counter-Plaintiff denies that this Courl has jurisdiction over this case, all

                 subject to the Supreme Couft's ruling in Stern v. Marshall, 131 S.Ct. 2594 (2011).



      Ben Amini's Original Answer and Counterclaim                                                         Page   1




                                                                                                                  BKR397
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 2 of 35 PageID #: 486




         Case    l-3-04033 Doc 20 Filed07l3l-l].3 Entered 0713L11316:49:1-3 Desc                     Main
                                            Document      Page 2 of 35



          7.   Defendant/Counter-Plaintiff denies that venue is proper, all subject to the Supreme

               Couft's ruling inSternv. Marshall, 131 S.Ct. 2594 (2011).

          8.   There are no allegations of fact that require a denial or admission in Paragraph number   8.


          9.   Defendant/Counter-Plaintiff admits the allegations in Paragraph number 9 regarding the

               Promissory Note in the principal amount of $4,000,000.00.

          10. Defendant/Counter-Plaintiff admits allegations in Paragraph number 10 regarding the

               Loan Agreement executed on or about June 27,2008.

          I 1. DefendanlCounter-Plaintiff admits the allegations in Paragraph number 1 1 regarding the

               Unlimited Guaranties.

          12. Defendant/Counter-Plaintiff admits the allegations in Paragraph number 12.

          13. Defendant/Counter-Plaintiff admits the allegations in Paragraph number 13.

          14. Defendant/Counter-Plaintiff can neither admit nor deny the allegations of Paragraph

               number 14 because he lacks knowledge or information sufficient to form a belief   as to


               Plaintiff   s allegation.


          15. Defendant/Counter-Plaintiff can neither admit nor deny the allegations of Paragraph

               number 15 because he lacks knowledge or information sufficient to form a belief   as to


               Plaintiff s allegation.

          16. Defendant/Counter-Plaintiff can neither admit nor deny the allegations of Paragraph

               number 16 because he lacks knowledge or information sufficient to form a belief   as to


               Plaintiff s allegation.




      Ben Amini's Original Answer and Counterclaim                                                   Page2




                                                                                                            BKR398
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 3 of 35 PageID #: 487




        Case 1-3-04033 Doc             20    Filed07l3LlL3 Entered 07l3LlL3 L6:49:L3 Desc             Main
                                               Document         Page 3 of 35



          17. Defendant/Counter-Plaintiff can neither admit nor deny the allegations of Paragraph

              number l7 because he lacks knowledge or information sufficient to form a belief        as to


              Plaintiff s allegation.

          18. Defendant/Counter-Plaintiff admits the allegations regarding Section 9.1 of the Loan

              Agreement and its contents in Paragraph number 18.

          19. DefendanVCounter-Plaintiff denies the allegation that Dallas Roadster or its agents


              willfulty breached covenants in the Loan Agreement, as such it further denies that TCB's

              rights were adversely affected nor did it institute a default.

          20. Defendant/Counter-Plaintiff denies that they were provided with notice of acceleration

              prior to the receivership being granted. Further Defendant/Counter-Plaintiff denies that

              he was given notice of the above described defaults. DefendanlCounter-Plaintiff admits

              that he was given notice of default on or about October 26,2011 with a letter bearing

              such date. That letter's only described default pertained to the alleged alternative

              financing, which Dallas Roadster sought on the advice of TCB's Paul Noonan. However,

              they never activated this alternative financingper a conversation that Ben Amini had with

              Noonan following Amini's receipt of the above described October 26,2011 letter. Amini

              understood that conversation quelled any concern the Bank might have had over any

              alleged defaults. Defendant/Counter-Plaintiff can neither admit nor deny the remaining

              allegations of Paragraph number 20 because he lacks knowledge or information sufficient

              to form a belief   as   to Plaintiff s allegations.




      Ben Amini's Original Answer and Counterclaim                                                     Page   3




                                                                                                              BKR399
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 4 of 35 PageID #: 488




        Case 13-04033 Doc              20    Filed07l31.l1.3 Entered 07l3Ll131-6:49:13 Desc Main
                                              Document Page 4 of 35


          2   1   . Defendant/Counter-Plaintiff denies that   all conditions precedent to the Bank's recovery

                   have occured. The remaining allegations in Paragraph number       2l   arc not allegations   of

                   fact and thus do not require an admission or denial.

          22.Defendant/Counter-Plaintiff denies that he failed to comply with agreements and

                   obligations as set forth in the Loan Documents. The remaining allegations in Paragraph

                   number 22 are not allegations of fact and thus to not require an admission or denial.

          23. Defendant/Counter-Plaintiff denies that all conditions precedent to the Bank's recovery

                   have occurred. The remaining allegations in Paragraph number 23 are not allegations          of

                   fact and thus do not require an admission or denial.

          24. Defendant/Counter-Plaintiff denies that all conditions precedent to the Bank's recovery

                  have occurred. The remaining allegations in Paragraph number 24 are not allegations           of

                   fact and thus do not require an admission or denial.

          25. There are no allegations of fact that require a denial or admission in Paragraph number

                   25.

          26. Defendant/Counter-Plaintiff denies the allegations as stated in Paragraph number           26.Itis

                  Defendant/Counter-Plaintiff s belief that the search warrant was still being executed at

                   9:36 am on November 76,2011, the time TCB filed its Receivership.

          2T.Defendant/Counter-Plaintiff admits that TCB has certain rights in the event of a default

                   under Sectiong.2 of the Loan Agreement. However, Defendant/Counter-Plaintiff denies

                  that Section 9.2 of the Loan Agreement was triggered here since no event of default had

                   occumed, at the time the Receivership was filed.




      Ben Amini's Original Answer and Counterclaim                                                          Page 4




                                                                                                                     BKR400
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 5 of 35 PageID #: 489




        Case   l-3-04033 Doc20 Filed 07/31-/1-3 Entered 07l3LlL31-6:49:l-3 Desc                         Main
                                            Document         Page 5 of35



          28. There are no allegations of fact that require a denial or admission in Paragraph number

              28.

          29. Defendant/Counter-Plaintiff can neither admit nor deny the allegations of Paragraph

              number 29 because he lacks knowledge or information sufficient to form a belief as to

              Plaintiff s allegation.

          30. Defendant/Counter-Plaintiff admits that the Bank had certain interests in or rights to

              certain collateral. However, Defendant/Counter-Plaintiff states that     if certain property

              was in imminent danger of being lost, removed or materially injured, that it was the direct

              result of the Bank's fabrications about Ben     Amini andlor Dallas Roadster, or other TCB

              wrongful acts. Defendant/Counter-Plaintiff denies that the appointment of a receiver for

              the purposes stated therein would have benefitted the interests of all Defendants, and also

              denies that an orderly liquidation     ofthe Personal Property at the location of the Real

              Properly by a qualified receiver, as asserted, increased the likelihood of obtaining the best

              price. There are no remaining allegations of fact that require a denial or admission in

              Paragraph number 30.

          31. Defendant/Counter-Plaintiff admits that Paragraph number         3l correctly   quotes section

              9.2 of the Loan Agreement.

          32. Defendant/Counter-Plaintiff denies that by executing the Loan Agreement, all interested

              parties, in effect, have consented to the appointment of a receiver, under the

              circumstances herein. TCB's pertinent actions were not in good faith. There are no

              remaining allegations of fact that require a denial or admission in Paragraph number 32.




      Ben Amini's Original Answer and Counterclaim                                                         Page   5




                                                                                                                  BKR401
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 6 of 35 PageID #: 490




        Case 13-04033 Doc           20    Filed 07/31-/1-3 Entered 07l3LlI31-6:49:1-3 Desc Main
                                           Document Page 6 of35


          33. Defendant/Counter-Plaintiff admits that the Bank is a secured creditor of Dallas Roadster,

              Ltd. Further, Defendant/Counter-Plaintiff denies that the Bank possessed a reasonable or

              good faith basis to support an appointment of a receiver. There are no remaining of fact

              that require a denial or admission in Paragraph number 33.

          34. Defendant/Counter-Plaintiff denies that he was in default under the loan documents.

              Defendant/Counter-Plaintiff denies that the Property was in imminent danger of being

              materially injured, removed or lost. Further at the time of filing, DefendanVCounter-

              Plaintiff denies that at the time of filing it was unclear how the Property would be

              managed, maintained, protected, or disposed of, and that at the time of filing the

              indictments of Amini and Jimenez were sealed. Thus, TCB could not have reasonably or

              in good faith believed itself insecure because of said indictments. There are no remaining

              facts that require a denial or admission in Paragraph number 34.

          35. Defendant/Counter-Plaintitldenies that he obtained tinancing from Automotive F'inance

              Corporation ("AFC") or any other lender other than TCB. Defendant/Counter-Plaintiff

              further denies that AFC's security interest was reflected in the UCC frling statements

              which it attached. The date on those statements is October 12,201L Since that time TCB

              has admitted to having had conversations with Ben    Amini and cleared any alleged fear of

              AFC having a secured interest in any of Defendant's, Amini's and/or Khobahy's

              property.

          36. There are no allegations of fact that require a denialor admission in Paragraph number

              36.




      Ben Amini's Original Answer and Counterclaim                                                    Page 6




                                                                                                          BKR402
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 7 of 35 PageID #: 491




        Case    l-3-04033 Doc 20 Filed 07/3L/l-3 Entered 07l3LlI316:49:1-3 Desc                    Main
                                  Document Page 7 of 35


           37. There are no allegations of fact that require a denial or admission in Paragraph number

              5t.

           38. Defendant/Counter-Plaintiff denies that the Bank had a reasonable basis for the

              appointment of a receiver.

           39. There are no allegations of fact that require a denial or admission in Paragraph number

              39.

                                            ORIGINAL COUNTERCLAIM

                                                             I.
                                                          Parties

      1.      Dallas Roadster, Limited, ("DR" or "Dallas Roadster") is a Texas limited partnership,

      registered and doing business in the state of Texas.

      2.      IEDA Enterprise, Incorporated is a Texas corporation, and serves as general paftner for

      DR. For the purposes of simplicity, in this pleading, unless special reason   appears otherwise,

      both DR and IEDA     will   be referred to as DR, below.

      3.      Bahman Khobahy ("Ben Khobahy" or "Ben          K." to avoid confusion with "Ben Amini" or

      "Ben 4.", a co-party) is an individual who resides in Collin County, Texas, and is a co-owner of

      interests in DR and IEDA.

      4.      Bahman Amini ("Ben Amini" or "Ben        4." to avoid   confusion with "Ben Khobahy" or

      "Ben K.", a co-parly) is an individual who resides in Collin County, Texas and is a co-owner of

      interests in DR and IEDA.

      5.      Texas Capital Bank, N.A. ("TCB" or "Bank"), is a national banking association doing

      business in Dallas, Texas and this federal division. Texas Capital Bank is a principal subsidiary



      Ben Amini's Original Answer and Counterclaim                                                  PageT




                                                                                                          BKR403
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 8 of 35 PageID #: 492




            Case l-3-04033      Doc20     Filed 07/31-1L3 Entered 0713L1L31-6:49:L3 Desc Main
                                           Document Page B of 35


      of Texas Capital Bancshares (NASDAQ: TCBI), a commercialbank that describes itself         as


      delivering personalized financial services to Texas-based businesses. It was founded December

      18, 1998 in Dallas, Texas, with headquarters at 2000 McKinney Avenue, Suite 700, Dallas,

      Texas 75201. It now has other offices in Austin, Fort V/orth, Houston, Plano, and San Antonio.

      6.       All   parties are appearing or have appeared.

                                                           il.
                                              Jurisdiction and Venue

      7.       The Bank's claim is pending in this Court via an order of reference entered by the United

      States District Court, Eastern District of Texas, Sherman Division. However,

      Defendant/Counter-Plaintiff reserues the right to challenge this Court's authority/jurisdiction to

      grant relief on his counterclaims, pursuant to the Supreme Court's decision in Stern v. Marshall,

      id.

                                                           ilI.
                                                       F   acts

      A.       Dallas Roadster's Relationship with TCB

      8.       Dallas Roadster ("DR") at material times was and is a good customer of Texas Capital

      Bank ("TCB"). That status has existed since 1999. Prior to the occurrences that gave rise to this

      lawsuit, DR had never had any defaulted loans with TCB. All other loans were paid off, a

      majority of them ahead of schedule. Furthermore, for over at least a decade DR had not been late

      on payments of loans to     TCB. Likewise, DR had not ever failed to pay other lenders over the

      same span. TCB representative(s) indicated that TCB was lucky to have DR as a customer.




      Ben Amini's Original Answer and Counterclaim                                                    Page   8




                                                                                                             BKR404
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 9 of 35 PageID #: 493




           Case   l-3-04033 Doc 20 Filed07l3Lll3 Entered 07l3LlL31-6:49:1-3 Desc                     Main
                                           Document           Page 9 of 35



      B.      Relationship of DR and Ben Amini/Ben Khobahv

      9.      At all material times Ben Khobahy ("Ben K.") has served as president of DR's general

      partner, IEDA, lnc. and Ben Amini ("Ben        4.")   has served as vice-president. They have worked

      closely together, and have been the most prominent representatives of DR to TCB. The Bank

      was known to and evidenced trust in them until relatively shortly before the declaration     of

      insecurity.

      C.      $4    Million Promissorv Note

      10.     In the course of the more than decade long relationship, on or about May 10, 2008 DR,        as


      Bonower, executed another in a series of promissory notes with TCB, this one in the original

      principal amount of $4,000,000.00, with an original maturity date of May 10,2009. On or about

      the same date, DR entered into a Revolving Loan Security Agreement.

      D.
              Conditions

              (1) Revolving Loan Security Agreement Provided TCB with Full Information

      11.     The Revolving Loan Security Agreement provided TCB with            full information which

      allowed TCB to be fully informed about its loan and DR's financial condition.

              Article VII Covenants and Agreements:

              7.1 AÍìrmstive Covenants. Borrower and each Guarantor, as applicable,
              warrant, covenant, ond agree until the full andfinal payment of the Indebtedness
              qnd the termination of this Agreement, it will do the following:

                     (a) Books. Financial Statements and Reports. At all times maintain full
              and accurate boolcs of account and records. Borrower and each Guarantor will,
              on an individual or consolidated basis, as required by Lender, maintain a
              standard and consistent system of accounting and will furnish to Lender the
              statements and reports set forth on Exhibit C attached hereto and made a part
              hereof.


      Ben Amini's Original Answer and Counterclaim                                                      Page 9




                                                                                                             BKR405
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 10 of 35 PageID #: 494




         Case 1-3-04033 Doc          20    Filed07l31,lI3 Entered 07l3LlI3 L6:49:1-3 Desc Main
                                            Document      Page 10 of 35




                       (b)   Audits/Inspections.     On and after the Closing Date,        permít
               representatives appointed by Lender, including independent accountants, agents,
               attorneys, appraisers and any other persons, to visit and inspect Borrower's
              property, including its books of account, other books and records, and any
              facilities or other business assets, and to make extra copies therefrom and
              photocopies, and photographs thereof, and to write down and record any
               information such representatives obtain, and Boruower shall permit Lender or its
               representatives to investigate and verifu the accuracy of the informationfurnished
               to Lender in connection with the Loan Documents and to discuss all such matters
               with its fficers, employees and representatives.

              (Revolving Loan Security Agreement      p. l2)


              (2) The Revolving Loan Security Agreement contained certain special financial

      covenants:

       12.    That agreement gave TCB additional protections:

               7.3 Special Financial Covenants. Botower warrants, covenants and agrees that
               unless consented to otherwise in writing by Lender, at all times until the full and
              final payment of the indebtedness and the termination of thts agreement:

                      (a) Minimum Tangible Net \4/orth. Borrower's Tangible Net Worth shall
              not be less than 83,000,000.00.

                      þ) Debt Service Coverage Ratio, Bowowers Debt Service Coverage Ratio
              shall not be less than L30 to 1.0.

              Each of the foregoing covenants shall be measured on a quarterly basis as of the
              last day ofeach calendar quarter.

              (Revolving Loan Security Agreement      p.l6)


      13.     Under Exhibit Bl, TCB's quarterly Ceftificate of Compliance, the Covenants are

      more fully described and split into three parts:



      ' Of the Revolving Loan Security Agreement

      Ben Amini's Original Answer and Counterclaim                                                   Page 10




                                                                                                           BKR406
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 11 of 35 PageID #: 495




         Case l-3-04033 Doc          20        07/31/l-3 Entered 07l3LlI31-6:49:13
                                           Filed                                           Desc Main
                                            Document Page 1-1- of 35


              (l) Distributions not greater than 40(% of the Net Income       for any trailing   12
              month period ending December 3I , 2007, and after
              (2) Tangible Net Worth of not less than 83,000,000.00
              (j) Debt Service Coverage Ratio of not less than 1.30 to 1.0.

              (Revolving Loan Security Agreement p. 29)



       14.    Under Exhibit C2, the Financial Reporling, the financial reporting requirements are also

      more fully described and split into fìve parts

              (i)     Annual Financial Statements qf Bonower. llithin 120 days after the last
                      day of each fiscal year of Borcower, beginning with the fiscal year that
                      ends December 31, 2008, reviewed þy a certified public accountant
                      acceptable to Lender) financial statements showing the financial potions
                      and results of operations of Borrower as of, and for the year ended on,
                      such last day, together with the certificate of an Authorized Officer of
                      Borrower that all such financial statements present fairly the financial
                      position of Borrowers as of the last day of such fiscal year and the results
                      of the operations of Borrower for the fiscal year then ended in conformity
                      with GAAP, or other method of accounting acceptable to the Bank. Each
                      suchfinancial statement shall contain at least a balance sheet of Borrower
                      as of the end of suchfiscal year and statements of income;

              (ii)    Annual Financial Statements of Guarantor. As soon as available, and in
                       any event, within thirty (3) days of after the end of each calendar year,
                       complete financial statement of such Guarantor, curuently dated, together
                       with all notes thereto, prepared in accordance with sound accounting
                      principles consistent with the financial statements furnished by such
                       Guarantor in connection with the application for the Loan and which
                      fairly reflect the financial condition of Guarantor, certified as true and
                       correct by such Guarantor. Each financial statement shall contain a
                       balance sheet as of such date and statements of income, of cashflow and
                       of contingent liabilities and such other information as may be reasonably
                      requested by Lender.

              (iii)    Ouarterllt Financials: Certilìcate of Compliance. As soon as available
                      and in any event within þrty-five (5) days after the end of each calendar
                      quarter, (a) quarterly financial statements of Borrower together with all
                      notes thereto, prepared in accordance with sound accounting principles


      t Of the Revolving Loan Security Agreement

      Ben Amini's Original Answer and Counterclaim                                                    Page   l1




                                                                                                              BKR407
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 12 of 35 PageID #: 496




        Case 1-3-04033 Doc          20    Filed07l31,ll3 Entered 0713L113l-6:49:13 Desc Main
                                           Document      Page 12 of35



                       consistent with the financial statement furnished by Borrower in
                       connection with the application for the Loan and which fairly reflect the
                      financial condition of Borrower, certified as true and correct by the chief
                      financial fficer of Borrower, which financial statements shall contain a
                       balance sheet as of the end of such calendar quarter and statements of
                       earniings and of changes in stockholder's equityfor such calendar quarter,
                       and þ) a Certificate of Compliance, duly executed by Boruower, certifiing
                       that Borrower is in full compliance with each of the covenants set forth
                       herein and that there is no Event of Default and no Potential Event of
                      Default has occurred.

              (iv)    Notes Receivable Listing. As soon as available and in any event within
                      þrty-five (45) days after the end of each calendar quarter, a schedule of
                      the name, address, and telephone number of all Account debtors which
                      are indebted to Borrower as of the date of such request.

              (v)     Other l4formation. On and after the Closing Date, furnish to Lender (a)
                      any information which Lender may from time to time reasonable request
                      concerning any covenan4 provision, or condition of the Loan documents
                      or any matter in connection with the Collateral or Boruower's businesses
                      and operations, dnd þ) all evidence which lender may from time to time
                      reasonoble request as to the accuracy and validity of or compliance with
                      all representations, warranties, and covenants made by Boruower in the
                      Loan Documents, the satisføction of all conditions contained therein, and
                      all other matter pertaining thereto. (p. 30)


              (3) The Deed of Trust, Security Agreement, Financing Statement and Absolute

      Assignment of Rents:

      15.     On or about Jwe27,2008 TCB and Dallas Roadster executed a Deed of Trust, Security

      Agreement, Financing Statement and Absolute Assignment of Rents. This document provided

      additional assurances for the Bank, and diminished the prospect of loss to TCB under any

      foreseeable circumstance.




      Ben Amini's Original Answer and Counterclaim                                                Page 12




                                                                                                        BKR408
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 13 of 35 PageID #: 497




            Case 1-3-04033 Doc            20 Filed07l3LlI3 Entered 07131,1L316:49:13                  Desc Main
                                                Document       Page 13 of 35



                    (4) Auditors Allowed by the Revolving Loan Securify Agreement

       16.          Further, at the time TCB filed its Emergency Application for Appointment of Receiver,

       TCB had taken advantage of the claimed contract right to put into place on the premises of DR a

       set      of auditors who, on a daily basis at DR for nearly an entire year, apparently reviewed every

       financial transaction at DR. Thus, from late 2010, TCB had a front row seat to all financial

      transactions that could threaten the Bank's interests. It thus had the benefit of full transparency              of

      DR's financial Conditions for many months, along with years of prior satisfactory financial

      performance. On any objective basis, TCB knew that Dallas Roadster posed no significant

      prospect of criminal action or violation which would threaten TCB's banking interest or cause                it

      to be insecure a) under the contractual protections it had negotiated with DR and b) given the

      excessive collateral DR had provided.

                   (5) Loan Modification, Renewal, and Extension Agreement

       l7   .      Effective March   15   , 2011, though executed two days later on March   17   , 2011, Dallas

      Roadster and TCB entered into and executed a Loan Modification, Renewal, and Extension

      Agreement for the $4,000,000.00 Promissory Note. This document reiterated certain safety

      provisions that TCB had previously implemented in regards to DR. However, it also altered

      certain safety provisions. Further, it deleted 7.3(a) in its entirety and replaced it with "(a)

      Minimum Tangible Net Worth. Borrower's Tangible Net Worth shall not be less than

      $2,600,000.00. The Minimum Tangible Net Worth shall be measured on a quarterly basis as                     of

      the last day of each calendar quarter." TCB evidently wanted to tighten its control over DR's

      performance provision. In effect, given the level of control secured by TCB, TCB had gained

      capacity to micro-manage DR.


      Ben Amini's Original Answer and Counterclaim                                                          Page 13




                                                                                                                       BKR409
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 14 of 35 PageID #: 498




           Case 1-3-04033 Doc             20       07l3LlI3 Entered 07l3LlL3 16:49:13
                                                Filed                                          Desc Main
                                                Document Page 1-4 of 35


          18.    In an apparently related move, TCB also amended Exhibit B in the Certificate of

       Compliance, to reflect the reduced Tangible Net Worth which was required as well as a

       reduction in the Debt Service Coverage Ratio ("DSCR"). The covenant provided:

                         (i) Distributions not greater than 40% of the Net Income for any trailing I2 month
                         period ending December 3I, 2007, and after
                         (ä) Tangible Net Worth of not less than 82,600,000.00
                         (äi) Debt Service Coverage Ratio of not less than 1.25 to 1.0.

       These reductions are not indicative of a lender who is feeling insecure.

          19.    Sections   (iii)   and (iv) of Exhibit C3 was deleted and replaced with:

                         (iii) Ouarterly Financials of Borrower: Certificate of Compliance. As soon as
                         available and in any event withinþrty-five (45) days after the end of each quarter
                         calendar, (a) compiled þy a certified public accountant acceptable to Lender)
                         quarterly financial statements showing the financial positions and results of
                         operations of Boruower as of, and r the quarter ended on, such last day,
                         together with the certificate of an Authorized Officer of Boruower that ll such
                        financial statements present fairly the financial position of Boruower as of the last
                         day of suchfiscal quarter then ended in conformity 1ilith GAAP, or other method
                         of accounting acceptable to Bank. Each suchfinancial statement shall contain at
                         least a balance sheet of Borrower as of the end of such fiscal year and statements
                         of income, and þ) a certificate of Compliance, duly executed by Borrower,
                         certifying that Borrower is in full compliance with each of the covenants set forth
                         herein and that there is no Event of defoult and no Potential Event of Default has
                         occurred.

                         (iv) Account Receivable Listing and Agine. As soon as available and in any event
                         within thirty (30) days after the end of each calendar month, a schedule of the
                         name, address, and telephone number of all Account Debtors which are indebted
                         to Borrower as ofthe date ofsuch request and an account receivable agingfor
                         such Account debtors in suchform and detqil as Lender shall require, both
                         certified by an fficer of Borrower.

      20         Section (v) was also added to Exhibit Ca:

                         (v) Inventory Report. As soon as available, and in any event within thirty (30)
                         days after the end of each calendar month, an inventory report, in suchform and

      '   Of the Revolving Loan Security Agreement
      o
          Of the Revolving Loan Security Agreement

      Ben Amini's Original Answer and Counterclaim                                                    Page 14




                                                                                                            BKR410
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 15 of 35 PageID #: 499




            Case 13-04033 Doc           20      Filed   07/3L/l-3 Entered 07l3LlL31-6:49:1-3 Desc               Main
                                                 Document          Page 15 of 35


                          detail as the Lender shall reasonably require, certified by the chieffinancial
                          fficer of the Bonower. (p.6)
       2L         These modifications, whether taken individually or as a whole, demonstrate that TCB

      was not a lender      with   a feeling   of insecurity regarding DR's financial performance and its ability

      to service the loan. And they demonstrate that TCB had more than adequate protections of it's

      interests. TCB was more than adequately financially and legally secured from any serious

      consequence of any potential DR default.

                  (6) Dallas Roadster Financial Overview

      22.         At the time that TCB allegedly felt insecure on November 16,20ll in regards to the DR

      loan(s), DR had provided TCB approximately 512,372,958.48 in collateral. At that time, the total

      balance owed by DR to TCB was $5,410,490.00, $1,620,000.00 of which was comprised                        of

      DR's real estate debt. In fact, the latest TCB appraisal of real estate collateral values prior to

      November 16,2011 reflected a great surplus in value: a) 404 Central Expressway                   :
      $1,190,000.00; b) 825 K Ave.         :   5870,000.00;   c)   905 K Ave.   :   $1,130,000.00; and d) 1102 lOth

      St.   :   $415,000.00, bringing the total real estate collateral as evaluated by TCB to $3,605,000.00.

      That appraised value was $2 million more than TCB had loaned against the real estate. Thus,

      TCB was well secured in both its commercial and real estate loans to DR, with               a   ratio of 2.287 of

      collateral to debt.

                 (7) DR's Average Monthly Vehicle Sales Generated Profits to TCB

      23.        TCB financed DR vehicles on a revolving floor plan, with a debt ceiling set by the $4

      million loan. On average, prior to TCB's securing            a receivership over DR, DR was selling more

      than 100 vehicles per month. As these were sold, DR routinely promptly paid TCB in full for any



      Ben Amini's Original Answer and Counterclaim                                                             Page 15




                                                                                                                       BKR411
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 16 of 35 PageID #: 500




        Case       L3-04033 Doc 20 Filed 07/3L/l-3 Entered 0713L1131-6:49:L3 Desc               Main
                                                Document   Page 1-6 of 35



      amount that TCB had financed against the vehicle sold. Although the total varied from month to

      month, 2011 monthly vehicle sales income was as follows:

              a) January, $1,644,179.80;

              b) February, 51,256,663.00;

              c) March,   $   1,608,709.50;

              d) April, $1,933,827 .50;

              e) May, $1,730,693.00;

              f) June, 51,442,493.20;

              g) July, $1,535,489.60;

              h) August, $2,107,123.00;

              i) September,     $   1,295, I 84.50;

              j)   October, $1,706,585.00; and

              k) November, $109,900.00 (the latter being apafüalmonth due to the November 16,

              2011 receivership TCB secured).

      TCB made substantial commercial profits in these transactions, suffering no serious issues with

      the vehicle   payofß. TCB was well secured regarding its vehicles which were variously valued at

      $4.1 million, wholesale, approximately $400,000 more than the November 16,2011 revolving

      floor plan of $3.7 million. In fact, through the years TCB had made more than $1,000,000 from

      the DR relationship.




      Ben Amini's Original Answer and Counterclaim                                              Page    l6




                                                                                                         BKR412
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 17 of 35 PageID #: 501




         Case      L3-04033 Doc 20 Filed 07/31-1L3 Entered 07l3LlL31-6:49:1-3 Desc                               Main
                                    Document Page 17 of 35


                  (8) TCB Had Immediate Access to DR's Funds

       24.        TCB's security interest in TCB Money Market Account (121300493t; futth". protected

       TCB. Those account funds came from            an additional $500 per vehicle sale TCB required,


      totaling approximately $286,100 on November 16,201l. TCB also then had a TCB operating

       fund account of approximately $211,388 and CD's worth $341,607.74. The total of $839,096.39

      was available to TCB on November 16,2011.

                  (9) Average Monthly Payments DR Made to TCB

       25.        For several months prior to the declaration of insecurity by TCB, DR had been paying

      TCB faithfully on more than an average of $1.5 million dollars in vehicle loans. DR was selling

      an average of more than 100 vehicles a month, and was well respected in the local automotive

      and financial markets. DR was a stellar TCB customer, as the financial data set forth hereafter

      reflects:

                  (i) January 2011
               Total Monthly Fixed Payments to TCB
               Cars Paid Off on Floor Plan
               Remaining DR Accounts Balance

               (ii) February 2011
               Total Monthly Fixed Payments to TCB                           s     36,77 5.57
               Cars Paid Off on Floor Plan                                   $   1.256.663.00
               Remaining DR Accounts Balance                                 $     435,969.00

              (iii) March 201I
              TotalMonthly Fixed Payments to TCB                             $    36,262.38
              Cars Paid Off on Floor Plan                                    $1.608.709.50
              Remaining DR Accounts Balance                                  s   977,021.00


      5
        November 15,20Il,re: Notice of Acceleration under $4,000,000.00 Revolving Line of Credit from TCB (p.3)
      Listed amount of $286,100.65 in Account Number 1213004793.
      6
        That amount reflected approximately $21,000 paid on real estate, with balance being interest on the revolving
      vehicle floor plan.

      Ben Amini's Original Answer and Counterclaim                                                                Page 17




                                                                                                                        BKR413
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 18 of 35 PageID #: 502




        Case     13-04033 Doc 20 Filed 07/3L/l-3 Entered 07l3LlI31-6:49:L3 Desc           Main
                                             Document   Page   1-B   of 35


                (iv) AEil20l l
                Total Monthly Fixed Payments to TCB
                Cars Paid Off on Floor Plan
                Remaining DR Accounts Balance

                (v) May 201I
                Total Monthly Fixed Payments to TCB
                Cars Paid Off on Floor Plan
                Remaining DR Accounts Balance

                (vi) June 2011
                Total Monthly Fixed Payments to TCB
                Cars Paid Off on Floor Plan
                Remaining DR Accounts Balance

                (vii) July 2011
                TotalMonthly Fixed Payments to TCB
                Cars Paid Off on Floor Plan
                Remaining DR Accounts Balance

                (viii) August 2011
                Total Monthly Fixed Payments to TCB
                Cars Paid Off on Floor Plan
                Remaining I)R Accounts Balance

                (ix) September 20ll
                Total Monthly Fixed Payments to TCB                  s    40,619.91
                Cars Paid Off on Floor Plan                           $1.29s.184.50
                Remaining DR Accounts Balance                        $   682,400.54
                (x) October 2011
                Total Monthly Fixed Payments to TCB
                Cars Paid Off on Floor Plan
                Remaining DR Accounts Balance

                (xi) November 2011
                Total Monthly Fixed Payments to TCB
                Cars Paid Off on Floor Plan
                Remaining DR Accounts Balance

                (10) Summary of DR's Financial Condition in comparison to TCB's Risk on

      November 16,20lL


      Ben   Amini's Original Answer and Counterclaim                                      Page 18




                                                                                                 BKR414
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 19 of 35 PageID #: 503




          Case   13-04033 Doc 20 Filed            07131,11.3 Entered 07l3tlL3         L6:49:l-3 Desc      Main
                                             Document      Page 1-9 of 35


       26.     In sum, TCB held more than $2,000,000 in real estate collateral above what was owed

       (approximately S3,605 ,000 vs. $1,600,000); held more than$2,640.000 in wholesale motor

      vehicle inventory/collateral and DR customer notes receivable (approximately $6,341,000 vs.

      $3,700,000). Given the average of approximately $37,000 in fixed payments due TCB every

      month, compared to the $839,096.39 in cash collateral held by TCB, TCB had the equivalent of

      more than 22 months prepayment on DR's fixed note obligations. Further, it held almost $7

      million more than what was owed by DR ($12,372,958.48 total collateral vs. $5,410,490 in

      debts). In addition, it held $4 million in "key man" life insurance, combined, on Ben K. and Ben

      A. In addition, TCB had the personal guarantees of both Ben A. and Ben            K.   TCB was very well

      secured financially.

               (11) TCB's Unfounded I)eclaration of Default

      27.      Despite DR's solid financial foundation and TCB's overwhelming financial security, on

      or about November 16,2011 TCB amazingly declared itself "insecure." It then declared a loan

      default and sought an immediate receivership from        a   Dallas state district court without notice to

      Ben   4., Ben K., or DR. To      secure the receivership, TCB fabricated the basis for the appointment

      of a receiver, deceived the Court by misrepresenting key facts and, perhaps more importantly,

      deliberately refused to disclose to the Court contextual facts reflecting how TCB secured

      position. What follows is a declaration on information and belief regarding events that may have

      been used to   justif,   the declaration, despite TCB's self-evident misleading representations to the

      Courl.

      E        Texas Canifal Ban k's Contact with the DEA




      Ben Amini's Original Answer and Counterclaim                                                        Page 19




                                                                                                                   BKR415
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 20 of 35 PageID #: 504




         Case l-3-04033 Doc 20 Filed           07l3LlL3 Entered 07l3LlI316:49:13                 Desc Main
                                            Document Page 20 of 35


       28.     On information and belief, TCB decided to betray Ben       4., Ben K.,   and DR after a visit by

      the Drug Enforcement Agency ("DEA"). As a result of that contact, TCB's essentially white

      upper-management made an "us" or "them" decision, distancing TCB from DR in every way

      possible, even suggesting that DR activity was suspicious. That began the series of events

      whereby TCB deliberately tried to frame Ben       4., Ben K.   and DR for crimes they had not

      committed, and worked to bait them into committing crimes. The triggering event appears to

      have been a September 9,2010,Iaw enforcement service of a federal grand           jury subpoena on

      TCB. That subpoena was essentially given to TCB Senior Vice-President Charlotte Lowe to be

      the designated official TCB responding party. Lowe, an officer with general capacity to bind

      TCB for all legal liability sought here, had TCB authority to hire and fire and to make TCB

      senior management decisions for the Bank. More specifically, she was directly authorized by

      even higher TCB management to speak for TCB in this and all matters related to the DEA

      investigation and DR. She was also authorized to commit TCB in its actions against Ben 4., Ben

      K., and DR.

      29.     In effect, that federal subpoena triggered a Pavlovian reaction by TCB to avoid being

      implicated in   a   potential federal money laundering investigation. Thus, that Pavlonian reaction

      encouraged and allowed the rise of a generally latent TCB institutional bias against non-white

      minorities such as Ben A. and Ben K., both of middle-eastem lineage. TCB senior officials

      would not have done the same to its white customers similarly situated.

      30.     On September 9,2010 Senior Vice President Lowe falsely told DEA agents that Ben A.

      was the president of DR. Thus, she set Ben A. up for targeting by the DEA. She also identified a

      number of allegedly suspicious activities conducted within the DR accounts, including structured


      Ben Amini's Original Answer and Counte¡claim                                                     Page 20




                                                                                                             BKR416
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 21 of 35 PageID #: 505




              Case 1-3-04033 Doc      20         Filed 07/31-11-3 Entered 07l3LlL31-6:49:13 Desc Main
                                                  Document Page 21- of 35


       deposits of currency. Lowe told agents that it was bank policy to note these suspicious activities

       as     it identified them and to properly repor.t them. Lowe also informed agents that TCB had told

      Amini both in person as well      as       by letter about the federal repofting requirements that he and his

       company were responsible for with sales involving currency in amounts greater than $10,000.

       (Source Application for a search warrant signed by Judge Mazzant- filed               ll/l5lll)
      3   1   .   On or about October   27   , 2011, a DEA agent spoke with Lowe from TCB regarding a just-

      completed nearly year long audit of DR as part of the floor plan loan. TCB reported DR to be a

      cash intensive business with numerous purchases of vehicles for ourrency. The auditors also

      reported viewing IRS 8300 Forms placed within the sales folders for vehicles sold by DR. The

      auditors could not determine whether the 8300 Forms had been filed with the IRS. (Source

      Application for a search warrant signed by Judge Mazzant- filed              lllßlll).
      32.         On or about November       9   , 2011, a Federal Grand Jury in the Eastern District of Texas

      returned SEALED indictments against Bahman Hafezamini ("Ben                   4.")   and Jose Jimenez for

      alleged money laundering in connection with their operation of Dallas Roadster, apparently

      based on deliberately false and/or misleading and incomplete information provided by TCB.

      33.         On or about November       16,20ll TCB filed Plaintiff s Original Petition     and Emergency

      Application for Appointment of Receiver ("Receivership Application"), relying on that sealed

      indictment. Attached to the Original Petition was Paul Noonan's affidavit, ("Noonan Affidavit"),

      notarized on November 15, 201 1. Both the Receivership Application and the Noonan Affidavit

      might appear accurate until compared with the timing of other indisputably relevant events.

      Specifically, the Receivership and Noonan's Affidavit assert that:




      Ben Amini's Original Answer and Counterclaim                                                          Page   2l




                                                                                                                    BKR417
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 22 of 35 PageID #: 506




        Case 1-3-04033 Doc          20        07l3LlL3 Entered 07l3LlL3 L6:49:I3
                                          Filed                                             Desc Main
                                           Document Page22ot35


              On or about November 9, 2011, afederal grandiury in the Eastern District           of
              Texas returned indictments against Defendant [AminiJ and Jose lvan Jimenez
              ("Jimenez"), who is, on the Bank's information and belief an employee of Dallas
              Roadster, for alleged money laundering in connection with their operation of
              Dallas Roadster.

              The   federal indictments of [AminiJ and Jimenez in connection with the operation
              of Dallos Roadster and the alleged conduct supporting such indictments
              constitute a default of the parties' respective obligations under the Loan
              Documents. Such indictments and the alleged conduct on which the indictments
              are based adversely affect the Bank's security interest in the collateral and
             jeopardize the collateral itself. For example, a halt in the operations of Dallas
              Roadster due to the indictments would render it and its principals unable to
              maintain or liquidate the collateral in an orderly manner. The indictments could
              also subject the collateral to forfetture or other governmental action in which the
              Bank's interest would need to be protected. In pertinent part, the Loan Documents
              specify thot the following eyents or conditions shall be considered events of
              default under the respective documents, including the Note:

              a.       Pursuant to Section 9.1(n) of the Loan Agreement, "Lender, in goodfaith,
                       shall deem itself insecure,"
              b.       Pursuant to Section 9.1(o) of the Loan Agreement, "Borrower or any
                       Guarantor suffers a material adverse change in its business or financial
                       condition,'" and
              c        Pursuant to Section 5(e) of the Pledge Agreement, "any...deterioration or
                       impairment of the Collateral or any part thereof."
                       The indictments of [Amini] and Jimenez to the operations of Dallas
                       Roadster and materially affect both its and the Guarantors' business and
                      financial condition. As a result, the Bank's collateral þr the Loan has
                       been impaired the Bank deems itself insecure.

              (par. 15, 16 &. 19 Receivership)

       34.    TCB had secured, apparently in violation of law, access to federally sealed indictments,

      with the sealing being reflected in Eastern District of Texas docket text and filings ("Sealed

      lndictment"). Further, said Court's policy not to unseal indictments until the person is before the

      Court on November 16,2011 is reflected by Court's docket entry. Further, Amini and Jimenez

      did not have their initial appearance until 2:29 pm and 2:40 pm, respectively, on Novemberl6,



      Ben Amini's Original Answer and Counterclaim                                                  Page22




                                                                                                         BKR418
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 23 of 35 PageID #: 507




         Case 13-04033 Doc            20   Filed 07/31-11-3 Entered 07l3LlL316:49:13 Desc Main
                                            Document Page 23 of 35


       2011, nearly five (5) hours after TCB sought and filed the receivership application, and a full day

       after TCB senior vice-president Paul Noonan's Affidavit claimed knowledge of the sealed

       indictment under oath.

       35.    The Receivership Application and Noonan's Affidavit filed at 9:30 a.m. on November

       16,201 1 assert that:

              The Bank has been notified that the federal authorities have, pursuant to a search
              warrant, seized records and other items utilized by Dallas Roadster in the
              operation of its business. Such seizure, along with the indictments referenced
              above, compromise the Bank's security interest in the Loan's collateral, making
              irueparable harm to the Bank's interest imminent.

              (par.26 of Receivership and par. 16 of Noonan's Affidavit)

      36.     This assertion is also quite peculiar since documents filed with the Court show that the

      Warrants against DR were not executed until 9:30 am on November 16,2011. As the

      Receivership Application was filed six (6) minutes later, TCB apparently absurdly wanted the

      State District Court   -   who was not informed of the key issues here   -   to believe that the federal

      indictments and/or warrants created TCB "insecurity" within some 6 minutes time. Or perhaps

      TCB asserts that those federally- related documents caused such concern that in a mere 6

      minutes TCB was able to put together hundreds of pages of documents supporting the             l3   pages


      of Receivership Application and the 10 page Noonan Affìdavit. Or perhaps TCB claims that it

      became insecure when it learned of a federal search and seizure that hadn't happened yet.

      Whatever the curious explanation TCB offers, it cannot explain Noonan's Affidavit, which

      contains those identical allegations and which the notary marks as having been done the day

      before the search warrant was executed. In short, TCB's senior management targeted Americans

      of Middle Eastern origin (and specifically Ben A.) and their business for disparate treatment.

      Ben Amini's Original Answer and Counterclaim                                                        Page23




                                                                                                                  BKR419
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 24 of 35 PageID #: 508




         Case 1-3-04033          Doc20     Filed   07/31/l-3 Entered 07l3LlI3l-6:49:l-3 Desc              Main
                                            Document        Page 24 of 35



       TCB wrongly, on knowingly false oaths, obtained a Receivership over DR to crush the business

       into submission in   a   way they would not have done with its white bank customers. TCB, in the

      absence of good faith, declared itself insure, and filed false statements to secure a crushing

      receivership order against DR, knowing that it would also crush Ben A. and Ben K. personally.

      F.      TCB Did Not Send Notice         of Default   as   Allesed in the Receivership Application for
              the $4,000,000.00 Note

      37.     In its Receivership application, TCB affirmatively informed the Court that:

              Dallas Roadster has failed to cure the above-entitled defaults despite notice of
              defoult, notice of acceleration and demand by the Bank. The Bank hereby sues
              Dallas Roadster on the Note. Based on Dallas Roadster's default and breach of
              its duties, the Bank is entitled to a judgment from and against Dallas Roadster for
              that portion of the amount due and owing on the Note.

              (par.20 Receiver)

      That statement is misleading. First TCB sent three letters:      (l)   the June 17, 2011 letter re: Notice

      of Potential Default under $4,000,000.00 Revolving Line of Credit from TCB, (2) the October

      26,2011 letter re: Notice of Default under $4,000,000.00 Revolving Line of Credit from TCB,

      and (3) the Novemb er 15, 201I letter re: Notice of Acceleration under $4,000,000.00 Revolving

      Line of Credit from TCB.

      38.     The June 17,2011 letter re: Notice of Potential Default under $4,000,000.00 Revolving

      Line of Credit from TCB was based on TCB's misinterpretation of the inventory list that Dallas

      Roadster had sent it. Thus, after receiving this June letter Ben Amini went to TCB and Mr.

      Noonan, explaining the inventory list. That dispelled any notion of potential default that TCB

      might have had, after misinterpretation. There was no notice of default given.




      Ben Amini's Original Answer and Counterclaim                                                        Page24




                                                                                                                   BKR420
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 25 of 35 PageID #: 509




         Case   l-3-04033 Doc 20 Filed 07l3LlL3 Entered 07131,1].316:49:13 Desc                          Main
                                           Document         Page 25 of 35



      39.     The October     26,201I letter   re: Notice of Default under $4,000,000.00 Revolving Line       of

      Credit from TCB again inaccurately portrayed Dallas Roadster's financial situation. The basis

      for this was an October 24,2011 letter received by TCB from Automotive Financial Corporation

      ("AFC"), wherein AFC allegedly declared that it "has or expects to acquire a purchase money

      security interest   in...all of [Dallas Roadster, Limited's]   assets and properties." Ben   A. again

      visited Noonan, despite having a meeting with him on Friday, October 21,201l, wherein he

      explained that Dallas Roadster had not and would not activate a line of credit with another lender

      until and unless TCB authorized as much in writing. That again dispelled any TCB concerns.

      40.     The November 15, 2011 letter re: Notice of Acceleration under the $4,000,000.00

      Revolving Line of Credit from TCB verifies that "[Dallas Roadster] advised Noonan that no such

      financing facility with Automotive Financial Corporation was consummated." The letter then

      goes on to point to receipt of a letter from AFC, the language of which appears to be the same,

      just slightly more expanded upon, as the letter TCB cited in the October 26,201I letter. TCB

      does not clarify when this letter was received or whether it was the same letter that Ben A. had

      previously discussed and explained to Noonan. Whether the same or not, the language is the

      same and thus had been explained by Ben        4., apparently to TCB's satisfaction. Furthermore,

      Amini did not receive this letter until after the Receivership was granted on Novemb er 76, 20lI          .



      G.      TCB Contrarv Declaration Prior to Grand Jurv Proceedings

      41.     On or about January 15,2013 TCB's representative stated that TCB had been trying for

      several months to find something wrong at DR, but could         not. Thereafter, on information and

      belief, TCB, contrary to its representative's declaration, presented the federal investigative




      Ben Amini's Original Answer and Counterclaim                                                       Page25




                                                                                                                    BKR421
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 26 of 35 PageID #: 510




         Case   l-3-04033 Doc 20 Filed 07/31-/l-3 Entered 07131-11.3l-6:49:13 Desc                  Main
                                           Document       Page 26 of 35



       authorities with false and/or misleading and incomplete information against Ben 4., Ben K., and

      DR.




                                                       IV.
                                              CAUSES OF'ACTION


      A.      Adoption of Causes of Action Alleged by Dallas Roadster, LTD. (and IEDA

      Enterprises, Inc.)

      42.     Defendant/Counter-Plaintiff re-alleges and incorporates paragraphs 1-41 as if fully

      contained here, and any facts set for the hereinafter.

       43.    To the extent that TCB's actions were directed by TCB with deliberate intention to harm

      a small business   like DR, TCB's intention and deliberate action was necessarily focused on not

      only crushing the DR structure, but also the principals within, including Ben A. and Ben K.

      More specifically, as effectively half owner of the business, the intention must have been to hurt

      Ben A. individually. ln fact, it would be impossible to harm DR substantially without harming

      Ben A. significantly. Thus, to the extent alleged by DR, Ben A. incorporates the allegations   of

      DR as his own.

      B.      Malicious Prosecution of Civil and/or Criminal Proceedings

      44.     Defendant/Counter-Plaintiff re-alleges and incorporates paragraphs l-41 as if fully

      contained here, and any facts set for the hereinafter.




      Ben Amini's Original Answer and Counterclaim                                                  Page26




                                                                                                           BKR422
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 27 of 35 PageID #: 511




         Case   L3-04033 Doc 20 Filed 0713L113 Entered 07l3LlI31-6:49:l-3 Desc                          Main
                                           Document        Page 27 oÍ 35



       45.     TCB caused to be filed a state court receivership action at   a   time when it knew it had no

       reasonable, good faith basis to do so, as reflected in the amount and variety of financial security

       set forth above.


       46.     TCB caused to be filed federal criminal charges against Ben A. at       a   time when it knew

       that there was no good faith basis to do so.

       47.    Both the civil and criminal proceedings were commenced against Ben A. (the civil being

       commenced at a time that it was effectively against Ben A.), caused by TCB or through TCB's

       aid or cooperation.

       48.    These actions were undertaken either with such intent and deliberation, or with such

       recklessness, that malice in TCB's action is inferable form the facts.

       49.    There was an absence of probable cause for the institution of the respective proceedings.

       50.    The proceedings have terminated (criminal) or reasonably       will terminate (civil) in Ben

       A.'s favor by the time these proceedings are completed.

       51     Ben A. suffered damages conforming to legal standards.

       C.     Abuse of Process

       52.    Defendant/Counter-Plaintiff re-alleges and incorporates paragraphs 1-41 as if fully

       contained here, and any facts set for the hereinafter.

       53.    As reflected above, TCB caused to be filed based on false statements and an incomplete

       fact presentation to the State District Judge a set of allegations which, had the basis therefor been

       fully made known to the Courl, the Court would have required a full hearing with notice, and

      thereafter would not likely have ordered a receivership.




      Ben Amini's Original Answer and Counterclaim                                                      Page27




                                                                                                               BKR423
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 28 of 35 PageID #: 512




        Case 1-3-04033 Doc          20    Filed07l31,lL3 Entered 0713L11316:49:13 Desc Main
                                           Document            Page 28 of 35



      54.     However, without notice and with improper purpose, TCB made illegal, improper, or

      perverted us of process that was not warranted by the process, namely to shut down DR,

      interfering with its business in such a way     as   to cause its business to vanish, its inventory to be

      sold for pennies on the dollar, and TCB allowed to crush its bank customer.

      55.     TCB had an ulterior motive to misuse the process, namely to divert attention from its own

      concerns over possible money laundering charges, and to distract federal investigators by

      pointing the unwaranted finger at Ben 4., Ben K., and DR.

      56.     DR, and therefore Ben A. and Ben K. suffered great damages to their business interests in

      DR, their reputations, and related interests.

      D.      Intentional Infliction of Emotional Distress

      57.     DefendanVCounter-Plaintiff re-alleges and incorporates paragraphs l-41 as if fully

      contained here, and any facts set for the hereinafter.

      58.     TCB acted intentionally or recklessly, causing severe distress, with extreme and

      outrageous conduct proximately causing Ben A.'s distress to himself and his family, with actual

      damages cognizable in    law. No alternative cause of action will provide such a remedy.

      E.      Tortious Interference with Existing Contracts and Prospective Relations

      59.     Defendant/Counter-Plaintiff re-alleges and incorporates paragraphs 1-41 as if fully

      contained here, and any facts set for the hereinafter.

      60.     As reflected in the facts, Ben A. and DR were successful in the automotive business.

      They had developed solid and continuing relationship which benefitted them and the Bank. The

      Bank was aware of these relationships, and prized the money made by DR. When DR tried to




      Ben Amini's Original Answer and Counterclaim                                                        Page28




                                                                                                                  BKR424
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 29 of 35 PageID #: 513




         Case   13-04033 Doc 20 Filed07l31,lL3 Entered 07lsLlL3 L6:49:L3 Desc                            Main
                                           Document          Page 29 of 35



       leave the Bank or develop alternative relationships, the Bank took steps to discourage it. In

       effect, DR was made a captive customer.

       61.    When TCB made deliberate efforts to harm DR, it did so knowing that Ben A. was a key

       part of this small business, and effectively half owner. In effect, TCB knew that any action to

       harm DR would directly harm Ben       4.,   and his business relationships both outside and inside the

       DR structure.

       62.    Ben A. possessed valid contracts with his partner in      DR   Ben   K., another frnancing bank,

       and many past and repeat customers. TCB         willfully and intentionally interfered with   these

       contracts, proximately causing injury and actual damages.

       63.    Ben   4., in reasonable probability would have entered and continued in       a business

       relationship with a third parfy, Ben 4., either with or for DR, could have obtained alternate

       financing and business structures that would have avoided the bias and prejudice that led to Ben

      A. being singled out for disparate treatment. Defendant intentionally interfered with such

      potential relationships. TCB's conduct was independently tortious or unlawfrrl, proximately

      causing injury Ben A.

      F.      Fraud/Fraud in the Inducement/Deceptive Trade Practices Yiolation

      64.     Defendant/Counter-Plaintiffre-alleges and incorporates paragraphs l-41 as if fully

      contained here, and any facts set for the hereinafter.

       65.    Through artifice, scheme, and design, TCB set up Ben A. to take a fall for criminal

      charges which he had not committed. However, because TCB feared the consequences of the

      investigatory embarrassment and potential danger to its business relationships, TCB intentionally




      Ben Amini's Original Answer and Counterclaim                                                       Page29




                                                                                                                BKR425
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 30 of 35 PageID #: 514




         Case 1-3-04033 Doc 20 FiledOTl3LlL3 Entered 07l3LlL3 L6:49:1-3 Desc Main
                                Document Page 30 of 35


       assisted in the presentation and/or manufactured false or misleading, and incomplete information

       to deflect any attention from itself in a federal investigation.

       66.     The actions of TCB resulted in essentially one or more acts of fraud to make something

       appear which true which was not, and to harm Ben A. in the process. This kind of fraud is both

       more complex and more insidious than mere single misrepresentations in other fraud cases.

       However, there were false and misleading statements in the assurances that TCB gave Ben A.

       and DR in the course of gathering false information to present a false picture of Ben    A. and DR

       to federal investigators. For example, TCB misrepresented the reason for auditors to be placed in

       DR to review every account for several months. TCB misrepresented the resulting evidence.

       TCB misrepresented the basis for seeking a modification of the lending terms during the several

      month audit proceeding. And TCB was aware of and participated in sting operations against Ben

      A. and Ben K.,   as   well as DR.

       67.    These deceptive acts against a customer of the bank amounted to fraud, fraud in the

       inducement, and violation of the Texas Deceptive Trade Practices Act, resulting in proximate or

      the producing cause of actual damages.

      G.      Promissory Estoppel

      68.     Defendant/Counter-Plaintiff re-alleges and incorporates paragraphs 1-41 and the facts set

      forth to support the fraud cause of action in the immediately proceeding section, as if fully

      contained here, and any facts set for the hereinafter.

      69.     TCB made one or more promises which are or were not otherwise a part of       a   valid

      contract. Those promises disarmed Ben A. from being able to protect himself against the fraud

      and efforts against him by   TCB. In effect, TCB     made false and misleading promises that matters


      Ben Amini's Original Answer and Counterclaim                                                      Page 30




                                                                                                              BKR426
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 31 of 35 PageID #: 515




         Case   l-3-04033 Doc 20 Filed 07l3LlL3 Entered 07131,11316:49:1-3 Desc                       Main
                                           Document          Page 31- of 35



       were proceeding well, that the auditors were in the business on a relatively routine basis or for

       reasonable causes, that their relationship with the Bank was solid and there was no reason to seek

       alternative financing, and related representations. Those representations/promises were relied

      upon to Ben A.'s detriment, and his damages.




      H.      Wrongful Receivership

       70.    Defendant/Counter-Plaintiff re-alleges and incorporates paragraphs l-41 as if fully

      contained here, and any facts set forth hereinafter.

      71.     The law of receivership is very restrictive: "A receivership is the most radical remedy

      known to our jurisprudence; it discredits, cripples, and, in a majority of instances, puts an end to

      any business or enterprise, and ... should never be applied where abuses may be corrected and

      prevented by application of milder remedies." Rex Refining Co. v. Motis, 72 S.W .2d 687, 692

      (Tex.Civ.App.-Dallas 1934,no writ). Because the appointment of a receiver is disfavored in

      law, receivership should be invoked cautiously and sparingly. A receiver should not be appointed

      unless a clear showing of necessity is made and, ordinarily, unless there exists an actual danger

      of the property being lost, removed or materially injured. See TEX. CIV. PRAC. & REM. CODE

      $ 64.001(b).   A receiver should not be appointed where     a less drastic remedy is available to


      protect the property.

      72.     Where a receivership is set aside on the ground that is was obtained on the basis of false

      of improper allegations, or without notice or hearing, the applicant may be held liable for loss or

      injury resulting to the defendant from the wrongful appointment and the consequent possession

      ofthe defendant's property by the receiver.

      Ben Amini's Original Answer and Counterclaim                                                        Page   3   I




                                                                                                                     BKR427
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 32 of 35 PageID #: 516




        Case    l-3-04033 Doc 20 Filed 07l3tlI3 Entered 07l3LlI3l-6:49:1-3 Desc                              Main
                                              Document         Page 32 of 35



      73.     As set forth above, TCB had no lawful basis for the appointment of a receiver under the

      facts alleged. It is therefore liable for all damages resulting therefrom, particularly in light       of

      Defendant/Counter-PlaintifPs substantial interest in DR, and TCB's intention to harm Ben A.




                                                             v.
                                            Equal Credit Opportunity Act

      74.     Defendant/Counter-Plaintiff re-allege and incorporate paragraphs l-42          as   if fully

      contained here, and any facts set for the hereinafter.

      75.     Under the Equal Credit Opportunity Act ("ECOA"), a lender may not discriminate

      against a borrower or decide the terms       of   credit based on the borrower's race, color, or national

      origin "with respect to any aspect of a credit transaction," 15 U.S.C. $ 1691. This applies both to

      the granting or extension of credit.

      76.     Under the facts asserted in this Counterclaim, it is apparent that TCB discriminated

      against Ben   4.,   as a   minority owner of a borrower and a guarantor. The same holds true of Ben

      K.   -Consciously, and with intent, TCB did not treat DR in the same manner          as they   would have

      treated a non-minority owned commercial borrower, setting Ben A. (and Ben K.) up to take any

      fall that might come from a federal investigation, assisting in gathering purported evidence that

      the evidence gatherers did not believe showed wrong doing, Despite having no reasonable, good

      faith basis, TCB declared the minority-borrowers in default merely because of suspicion based

      on their Middle-Eastern ethnicity.

      77.     TCB's essentially white upper management decided deflect any potential criticism from




      Ben Amini's Original Answer and Counterclaim                                                           Page32




                                                                                                                    BKR428
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 33 of 35 PageID #: 517




        Case    l-3-04033 Doc 20 FtledOTlSLlL3 Entered 07l3IlI3 L6:49:13 Desc                         Main
                                           Document         Page 33 of 35



      TCB by leaving Ben A. and Ben K. to fend for themselves         as   TCB began to try to frame them for

      crimes that they had not committed. In essence, TCB treated Defendant/Counter-Plaintiff Ben

      A. differently than it would have treated a non-minority bonower in a similar circumstance.

      This is particularly true given the excellent credit performance and collateral Defendant/Counter-

      Plaintiff had with TCB.



                                                          vI.
                                              Other Causes Reserved

      78.     Counter-Plaintiff reserves the right, after discovery, to further specify and support related

      claims against TCB.

                                                          vII.
                                                     Attorneys'Fees

      79.     Defendants/Counter-Plaintiffs seek afforney's fees as allowed by law, including but not

      limited to, recovery under Texas Civil Practice & Remedies Code $ 38.001, et seq., 15 U.S.C.        $


      1697, et seq., Texas Deceptive Trade Practices Act.

                                                        Prayer

              Therefore, Defendant/Counter-Plaintiff Ben Amini, request that this Court find that

      Plaintiff take nothing, and that Counter-Claimant recover actual and exemplary damages,

      attorney's fees and costs, pre- and post-judgment interest, and such other and further relief to

      which he may show himselfjustly entitled.




      Ben Amini's Original Answer and Counterclaim                                                    Page 33




                                                                                                              BKR429
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 34 of 35 PageID #: 518




        Case 13-04033 Doc           20    Filed 07/31-11-3 Entered 07l3LlL3l-6:49:l-3 Desc Main
                                           Document Page 34 of 35


                                                          Respectfully submitted,


                                                                           lsl
                                                          Blake Bailey
                                                          State Bar No. 01514500
                                                          903-593-7660
                                                          Bailey Law Firm
                                                          522 S Broadway
                                                          Tyler, Texas 75702




      Ben Amini's Original Answer and Counterclaim                                         Page34




                                                                                                  BKR430
Case 4:13-cv-00625-RC Document 10-5 Filed 10/30/13 Page 35 of 35 PageID #: 519




         Case 1-3-04033 Doc          20    Filed 07/31-113 Entered 07l3IlL31-6:49:1-3 Desc Main
                                            Document Page 35 of 35


                                           CERTIFICATE OF' SERVICE

              I hereby certify that a true and correct copy ofthe above and foregoing document has
       been forwarded to all parties via the electronic delivery system of the United States Bankruptcy
       Court for the Eastern District of Texas, Sherman Division.

                 So certified on this 31't day of July, 2013

                                                                                   ls/
                                                               Blake Bailey

       Ken Stohner
       Jackson Walker, LLP
       901 Main Street, Ste. 6000
       Dallas,   TX   75202

       J. Bennett White
       J. Bennett White, P.C.
       P.O. Box 6250
       Tyler, TX7571l

       John M. Vardeman
       UST Office
       110 N. College St., Suite 300
       Tyler, TX75702

       T. Chase Garrett
       Albin Yates Balius Roach
       5601 Granite Parkway, Suite 400
       Plano, TX75024

       Roger D. Sanders
       Michael Young
       Sanders, O'Hanlon, Motley, & Young, PLLC
       111 S. Travis St.
       Sherman, Texas 75090




       Ben Amini's Original Answer and Counterclaim                                               Page 35




                                                                                                          BKR431
